Case 0:22-cr-60204-RAR Document 1 Entered on FLSD Docket 10/05/2022 Page 1 of 9%
                                                                       FILEDBy                        D.c.l
                                                                                                          !k

                                                                             C2T2570J22     -
                                                                                                          j
                                                                                                          r
                           U N ITE D STA TES DIST RICT CO UR T
                           SO U TH ER N D IST RICT O F FL O R ID A           CALNEGREKtjAstt.jjs
                                                                                       .       t
                                                                                               'J
                                                                                                t'L'
                                                                                                   (L
                                                                                                    ;:
                                                                                                     g.   j
                                                                                                          l
                                                                            S.D.OF FLA..FT.LAtJD .
                                                                                                          )
                                                                                                          x


                            cassxo.aa -ex-tyx t--qawllw.
                                            18U.S.C.j1031

 U NITED STA TES O F A M E RICA




 R O Y AL A lR M USEU M ,IN C.,

                       D efendant.


                                       IN FO RM A TIO N

        The United StatesAtlorney chargesthat,atalltim esrelevantto this lnform ation:

                                  G EN ER AL A LLEG A TIO N S

               The U.S. General Services Administration (GSA) administered the Federal
 Surplus Personal Property D onation Program . G SA arranged the transfer and utilization of

 surplus U .S.G overnm entproperty by other federalagencies.

               The Florida State Agency for Surplus Property (FLSASP) was authorized to
 receive surplus property from the federalgovernm entand to distribute thatproperty to qualified

 organizations.

        3.     The FLSA SP requested property from the G SA on behalf of qualified

 organizations. O nce the qualified organization was allocated the property, the FLSA SP then

 adm inistered distribution of the property and com pliance w ith the progrnm requirem ents. A l1

 correspondence regarding the property w as conducted betw een the FLSA SP and the qualified

 organization,often via em ail.
Case 0:22-cr-60204-RAR Document 1 Entered on FLSD Docket 10/05/2022 Page 2 of 9



                U nited States property designated as excess and/or surplusw as offered and m ade

 available to qualified organizations by G SA through electronic postings of the equipm ent on a

 w eb-based system titled tlG sA x cess.''

                A lsqualitied organization''was detined, in pertinent part, as tdgaln eligible
 nonprofit organization or institution w hich is exem pt from taxation under section 501 of the

 lnternalRevenueCode(26U.S.C.501),forthepurposeofeducation orpublichealth (including
 researchforany suchpurposel.''Thisdefinition includedmuseumsattendedbythepublic.
                A qualified organization obtained property from FLSA SP by identifying surplus

 U .S.Govenunentproperty thatitneeded and then subm itting a requestto the FLSA SP forthose

 item s. A qualified organization m ade such requests through its authorized representatives. A

 qualitied organization m ust have subm itted an eligibility application to the FLSA SP, w hich

 identified the intended use of each surplus item obtained. The program did notpennit private

 individualsorcharitiesto obtain federalproperty forpersonaluse orgain.

                Qualitied organizationswere pennitted to obtain the requested surplusproperty
 item s only ifthey com plied w ith certain regulations established by G SA and the FLSA SP. The

 regulationsincluded thefollowing requirements:(a)the itemts)shallbe placed in use,forthe
 reported purpose,by the organization no later than 12 m onths ofthe organization obtaining the

 itemts),(b)theitemsaretobeusedby theorganization foratotalofatleast60monthsbefore
 the organization is allow ed to sell,trade,lease,lend,bail,cannibalize,encum ber or otherw ise

 dispose ofthe items,and (c)the organization isto obtain permission from GSA and/orthe
 FLSA SP before itis allow ed to sell,trade,lease,lend,bail,calm ibalize,encum ber or otherw ise

 dispose ofthe item s.
Case 0:22-cr-60204-RAR Document 1 Entered on FLSD Docket 10/05/2022 Page 3 of 9




                  ln the eventthata qualified organization did notuse orhandle the property as

 required by the program and listed in the previousparagraph,title and rightto possession of the

 property shall,atthe option ofG SA ,revertto the U nited States Governm ent. Upon dem and,the

 qualified organization,as directed by G SA through the FLSA SP,m ustrelease the property to the

 U .S.G overnm ent.

                  ROYAL AlR M USEUM ,INC.(hereinafter referred to as ttthe RAM '')was
 considered aqualified organization to receive federalsurplusproperty.

         10.      A m ong the item s obtained by the (
                                                     R AM from G SA tllrough the FLSA SP w as a

 LearjetC-2IA aircraft,SerialNumber84-0111,(hereinafterreferred to asttearjet84-0111'3,
                                                                                      .a
 LearjetC-2IA aircraft,SerialNumber84-0114 (hereinafterreferredto asûtlwearjet84-0114''),
                                                                                        .a
 LearjetC-21A aircraft,SerialNumber84-0123 (hereinafterreferred to asEtearjet84-0123'3.
                                                                                      ,a
 BeechcraftC-12D aircraft,SerialNumber81-23545(hereinafterreferred to asûlBeechcraft81-
 235455'); a Gulfstream C-20D aircraft, Serial Number 163691 (hereinafter referred to as
 kûGulfstream 163691'3;an X34 aircraft,SerialNumberA1(hereinafterreferredto as1kX34A1'');
 an X34 aircraft,SerialNumberA2 (hereinafterreferredtoas:6X34A2'');and729NortelAvaya
 desktelephones(hereinafterreferredtoasçltheNorteltelephones'').
                                             C O UN T 1
                      (M ajorFraudAgainsttheUnitedStates,18U.S.C.j 1031)
                  The GeneralA llegations are realleged and expressly incorporated herein as ifset

 forth in 9 11.

                  From on or about N ovem ber 10, 2015 through on or about July 27, 2018, in

 B row ard County,in the Southern D istrictofFlorida and elsew here,the defendant,

                                  R O Y A L AlR M U SEU M ,lN C .,


                                                 3
Case 0:22-cr-60204-RAR Document 1 Entered on FLSD Docket 10/05/2022 Page 4 of 9



 did knowing execute,and attemptto execute, a scheme and artitice with the intentto defraud the

 United States and to obtain money and property by m eans of materially false and fraudulent

 pretenses,representations,and prom ises, in connection w ith a grant,contract, subcontract and

 otherform ofFederalassistancevalued at$1,000,000 orm ore.
                                      The Schem e to D efraud

                  The schem e to defraud consisted of acquiring surplus U .S.Governm entproperty

 by m eans of false and fraudulent representations concem ing the intended use,placem ent and

 location of that property,and thereafter selling,attem pting to sell,loaning,attem pting to loan,

 leasing,attem pting to lease,transfening and converting the property to the use of another w ho

 was notentitled thereto,and otherwise used in contravention ofthe stated purposes under which

 the R AM w as perm itted to acquire the property initially. A m ong the item s fraudulently

 obtained by the RAM was a Learjet C-21A aircraft,Serial Number 84-0111,(hereinafter
 referredto astûlxearjet84-0111'3.
                                 ,aLearjetC-21A aircraft,SerialNumber84-0114 (hereinafter
 referredtoasûûlsearjet84-0114'');aLearjetC-21A aircraft,SerialNumber84-0123 (hereinafter
 refen'ed to as ûlLearjet 84-0123'5)'
                                    , a Beechcraft C-l2D aircraft, Serial Number 81-23545
 (hereinaûerreferred toasççBeechcraft81-23545'');aGulfstream C-20D aircraft,SerialNumber
 163691 (hereinafterreferred to as ttGulfstream 163691'5).
                                                         ,an X34 aircraft,SerialNumberA1
 (hereinafterreferredtoas61X34 A1'');anX34aircraft,SerialNumberA2 (hereinafterreferredto
 as11X34 A2'');and 729 NortelAvaya desk telephones(hereinafterreferred to as çstheNortel
 telephones'').
        4.        O n M ay 27,2016 the R AM subm itted a signed letter of intent to the FLSA SP

 seeking acquisition of Gulfstream 163691. The letter of intent stated, in pertinent part, the

 follow ing'
           .

                                                 4
Case 0:22-cr-60204-RAR Document 1 Entered on FLSD Docket 10/05/2022 Page 5 of 9



         The aircraftrequested willbe used to prom ote ourorganization and preservation of
         aerospace history,which includes purposes of display,exhibition and educational
         purposes. Asthesubjectaircraftarelisted with GsAexcess,itwillbeutilized for
         puposes ofthe museum and would remain as museum property subjectto the
         term s and regulations as im posed by the G SA .

        5.         On A pril 6, 2017,a representative of the R AM signed a conditional transfer

 docum ent for Gulfstream l63691. The conditionaltransfer docum ent stated,in pertinentpart,

 the follow ing'
               .

          in consideration of and reliance upon the representations of the Royal A ir
         ..

         M useum,Inc.(hereinaftercalledtheDonee)thatthepropertyhereinafterdescribed
         is required in the furtherance of the Donee's program and that such property w ill
         be used solely in connection with such program s and m ore specifically for a11the
         following purposets):Cannibalization in accordance with the proposed program
         and plan as set forth in the Donee's SLetter of Intent' dated June 16, 2015 as
         am ended,w hich Expression of interest is hereby incorporated herein and m ade a
         part thereof, and for no other purpose, does hereby deliver, sell, assign, and
         transfer all of its rights,title, and interest in and to the follow ing described non-
         com bat-type aircraft,aircraftengines,and propellers, A IRCRA FT,Gulfstream ,C-
         20D , Serial # 163691,together with a11 engines,appurtenances, and accessories
         attachedthereto(al1ofwhicharehereinafterreferredto astheProperty),whichhas
         been detennined by GSA to have a fair marketvalue of$7,400,000.00,unto the
         Donee to have and hold the property...

 The conditionaltransferdocum entalso stated the follow ing

           ... t
               he D onee shall not sell, trade, lease, lend, bail, cannibalize, encum ber,or
          otherw ise dispose ofthe Property...w ithoutthe priorw ritten approvalofG SA .

        6.     On A pril 18,2017,G ulfstream 163691 w as officially transferred from G SA and

 the FLSA SP to the IG M .

               O n April20,2017,the engines from Gulfstream 163691 w ere sold and transferred

 to Corporation 1w ithoutthe priorw ritten approvalofG SA .
Case 0:22-cr-60204-RAR Document 1 Entered on FLSD Docket 10/05/2022 Page 6 of 9



        8. ln July 2018,the fuselage and other aircraftpartsfrom G ulfstream 163691 w ere sold

 and transferred to Corporation 2 w ithoutthepriorw ritten approvalofG SA .

 A llin violation ofTitle 18,U nited StatesCode,Section 1031.



   y                 .           *
 JU AN AN T 10 G ON ZA LEZ
 U N ITED STA TES A TTORN EY



 LA     N CE D W EC CH IO
 A SS STAN T UN ITED STATES A TTO RN EY




                                               6
   Case 0:22-cr-60204-RAR Document 1 Entered on FLSD Docket 10/05/2022 Page 7 of 9
                          UNITED STA TES DISTRICT CO URT
                          SOU THERN DISTRICT O F FLO R IDA

UN ITED STA TES OF A M ER ICA                        CA SE NO .:


                                                     C ERT IFIC A TE O F TR IA L A TTO R N EY W
ROYAL AIR M U SEUM ,IN C.,
                                        /            Superseding C ase Inform ation:
                   Defendant.
CourtDivision(selectone)                             New Defendantts)(YesorNo)
   D M iami n Key W est L FTP                        N um berofN ew Defendants
   D FTL        r W PB                               Totalnum berofNew Counts

ldo hereby certify that:
  l. Ihave carefully considered the allegations ofthe indictment,the numberofdefendants,the numberofprobable
       witnessesand the Iegalcomplexitiesofthe Indictment/lnformation attached hereto.
       lam awarethatthe inform ation supplied on thisstatementwillberelied upon bytheJudgesofthisCoul'
                                                                                                     tin setting
       theircalendarsand schedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.j3161.
       lnterpreter:(YesorNo)N0
       Listlanguageand/ordialect:
       Thiscasewilltake 0 daysforthe partiesto try.

       Please check appropriate category and type ofoffense listed below :
       (Checkonlyone)                      (Checkonlyone)
       l Z 0to 5 days                       r Petty
       11 D 6to 10days                      r M inor
       Ill L l1to20 days                    r M isdemeanor
       IV 1 21to60 days                     n Felony
       V    R 1daysand over

       HasthiscasebeenpreviouslyfiledinthisDistrictCourt?(YesorNo)No
       lfyes,Judge                                   Case No.
  7. Hasacomplaintbeenfiledinthismatter?(YesorNo)No
       lfyes,M agistrate Case N o.
  8. DoesthiscaserelatetoapreviouslyfiledmatterinthisDistrictCourt?(YesorNo)Yes
       lfyes,Judge singhal                           Case N o.21-60329-CR-SlN GH A L
  9. Defendantts)in federalcustody asof
  l0. Defendantts)in statecustody asof
  ll. Rule 20 from the                 Districtof
  l2. lsthisapotentialdeathpenaltycase?(YesorNo)No
  13. Doesthiscase originate from a m atterpending in theN orthern Region ofthe U .S.A ttorney'sOffice
       priortoAugust8,2014 (M ag.JudgeShaniek M aynard?(YesorNo)No
       D oesthiscase originate from a m atterpending in the CentralRegion ofthe U.S.Attorney's Office
       priortoOctober3,2019(Mag.JudgeJaredStrauss?(YesorNolYes


                                                     By:
                                                             LA     EN E D aV ECCH IO
                                                             AssistantUnited StatesA tlorney
                                                             FL BarN o.       305405
Case 0:22-cr-60204-RAR Document 1 Entered on FLSD Docket 10/05/2022 Page 8 of 9




                           U N ITED STA TES DISTR ICT CO UR T
                           SO UTH ER N D ISTR ICT O F FL O R ID A

                                      PEN A LTY SH EET

 D efendant'sN am e:       RoyalA irM useum ,Inc.

 C ase N o:

 Count#:l

 M ajorFraudAcainsttheUnitedStates
 Title 18sU nited States CodeeSection 1031
 * M ax.Term oflm prisonm ent:
 *M andatoryM in.Term ofImprisonment(ifapplicable):
 * M ax.Supervised R elease:
 *M ax.Fine: $5,000,000

 Count#:




 * M ax.T erm ofIm prisonm ent:
 *M andatoryM in.Term oflmprisonment(ifapplicable):
 * M ax.Supervised R elease:
 * M ax.Fine:

 Count#:




 * M ax.Term oflm prisonm ent:
 *M andatoryM in.Term oflmprisonment(ifapplicable):
 * M ax.Supervised R elease:
 * M ax.Fine:




   *Refers only to possibleterm ofincarceration,supervised releaseand fines. ltdoes notinclude
         restitution,specialassessm ents,parole terms,or forfeituresthatm ay be applicable.
   Case 0:22-cr-60204-RAR Document 1 Entered on FLSD Docket 10/05/2022 Page 9 of 9


AO 455(Rev.01/09)W aiverofanlndictment

                                 U NITED STATES D ISTRICT C OURT
                                                    forthe
                                           SouthernDistrictofFlorida

                United StatesofAmerica                 )
                            V.                         )     CaseNo.
              RO YALAIR M USEUM ,INC.                  )
                                                       )
                        Defendant                      )

                                         W AIV ER OF AN INDICTM ENT

       lunderstand thatlhavebeen accused ofone ormoreoffensespunishable by imprisonmentformorethan one
year. lwasadvised in open courtofmy rightsand thenatureoftheproposed chargesagainstme.

        Afterreceivingthisadvice,lwaive my rightto prosecution by indictmentand consentto prosecution by
information.




                                                           RovAl-AIRMusnuM,
                                                                          12V(1.
                                                                               '9'
                                                                                 y9%
                                                                                   'apf
                                                                                      /öfrttgsasDirector,
                                                           President,Secretary andAuthorizedRepresentative




                                                             BRUCE L UDOLF
                                                                           Printednameofdefendant'
                                                                                                 sattorney
